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 9                                IN THE UNITED STATES DISTRICT COURT
10                                    FOR THE DISTRICT OF OREGON
11   ELLEN F. ROSENBLUM, Oregon Attorney                   Case No. 3:20-cv-01161-MO
     General,
12                                                         MOTION FOR TEMPORARY
                     Plaintiff,                            RESTRAINING ORDER
13

14           v.
                                                           ORAL ARGUMENT REQUESTED
15   JOHN DOES 1-10; the UNITED STATES
     DEPARTMENT OF HOMELAND
16   SECURITY; UNITED STATES CUSTOMS
     AND BORDER PROTECTION; the UNITED
17   STATES MARSHALS SERVICE and the
     FEDERAL PROTECTIVE SERVICE,
18
                     Defendants.
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                                                    L.R. 7-1 Certification

               Plaintiff conferred on this Motion with counsel for the Defendant agencies by telephone

     on July 20, 2020, and the parties could not reach an agreement requiring the court to resolve the

     matter.

                                                  I.         MOTION

               Pursuant to Fed. R. Civ. Pro. 65, Plaintiff Ellen Rosenblum, Attorney General of the State

     of Oregon, moves this court for a temporary restraining order prohibiting Defendants from taking

     actions that exceed their authority, misrepresent their authority, and present a clear and present
     danger to the health and welfare of Oregon citizens and the peace and order of the State,

     specifically an order requiring that Defendants:

               a)      Immediately cease detaining, arresting, or holding individuals without probable

                       cause or a warrant; and

               b)      Identify themselves and their agency before detaining or arresting any person; and

               c)      Explain to any person detained or arrested that the person is being detained or

                       arrested and explain the basis for that action.

     The Attorney General also asks the Court to immediately order Defendants to show cause why a

     preliminary injunction should not issue to continue each of the above restraints during the

     pendency of this action.

               The Court has jurisdiction to grant a temporary restraining order because the State of

     Oregon and its inhabitants will suffer irreparable harm if Defendants continue the course of

     conduct alleged in the Complaint. In support of this motion, the Attorney General relies upon

     the Complaint, the Declarations of Sheila Potter, Mark Pettibone, Tiffany Chapman, Stephanie

     Debner, Jennifer Arnold, Terri Preeg-Riggsby, and the following points and authorities.

                        II.       MEMORANDUM OF POINTS AND AUTHORITIES

               The Attorney General seeks extraordinary relief from the Court under extraordinary

     circumstances. In the small hours of the morning last Thursday, an armed group of

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     unidentifiable men in an unmarked vehicle snatched Mark Pettibone, a Portland resident, off the

     Portland streets, without explanation. This did not happen by accident, but pursuant to a federal

     strategy to terrorize Portland protestors, presumably in an effort to quell ongoing protests.

     Videos online reflect that Mr. Pettibone is not the only protester forcibly removed from the

     Portland streets and shoved into an unmarked car, without explanation. The Attorney General of

     Oregon now asks the federal courts to answer whether the United States Constitution permits

     federal law enforcement to snatch people in the middle of the night without identifying

     themselves or explaining the legal basis for their actions. She submits that the answer is no, and
     asks that this Court immediately enjoin federal officers from assuming the aspect of a

     disappearance squad.

              Federal officers have occupied portions of Portland, Oregon, ostensibly to protect federal

     property. There is no question that they have the right to protect federal buildings. But these

     officers have also pursued peaceful, unarmed citizens through city streets and used unlawful

     intimidation tactics to instill fear of violence and chill the exercise of rights protected by both the

     Oregon Constitution and the United States Constitution.

              These actions, if not restrained, will further escalate and incite violent confrontations with

     Oregon citizens attempting to exercise their First Amendment rights to assemble and peacefully

     protest. And these actions open the door to the risk of outright kidnapping of protesters by

     private citizens, as word spreads that genuine law enforcement agents are engaged in such

     tactics. The evidence shows that the actions of these federal officers are inconsistent with

     Constitutional standards and the public statements of federal officials establish that these actions

     are undertaken for improper political purposes.

     A.       FACTUAL BACKGROUND
              Americans across the country have demonstrated daily for racial justice and in protest

     against racism and acts of police violence since the death of George Floyd in Minneapolis.



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     Protests in Portland have occurred both during daylight hours and at night, many of the protests

     occurring near and centered around the Justice Center and Mark O. Hatfield Federal Courthouse.

              1.       Federal troops were detailed to Portland to respond to the city’s protests.
              Various news sources have reported that federal law enforcement was sent to Portland in

     or around late June or early July. On June 26, President Donald Trump signed an Executive

     Order on Protecting American Monuments, Memorials, and Statues and Combating Recent

     Criminal Violence, fulminating against the protests in American cities, and giving federal law

     enforcement and military leave to “assist” in protecting federal property for the next six months:

              Upon the request of the Secretary of the Interior, the Secretary of Homeland
              Security, or the Administrator of General Services, the Secretary of Defense, the
              Attorney General, and the Secretary of Homeland Security shall provide, as
              appropriate and consistent with applicable law, personnel to assist with the
              protection of Federal monuments, memorials, statues, or property. This section
              shall terminate 6 months from the date of this order unless extended by the
              President.
              Acting Secretary of the Department of Homeland Security Chad Wolf announced on July

     3 that DHS was “following [President Trump’s] lead in deploying special units to defend our

     national treasures from rioters.” Oregon Public Broadcasting has reported that, beginning July 1,

     “Federal officers started playing a more obvious and active role during nightly protests in

     Portland, pulling protesters’ attention away from the Multnomah County Justice Center and

     refocusing it across the street on the Mark O. Hatfield Federal Courthouse. That night, federal

     officers emerged from the boarded-up courthouse to fire pepper balls at demonstrators who came

     too close to the building. Their appearance changed the protests.” The Willamette Week has

     reported the presence of federal officers at the protests “since at least July 2.”

              2.       Federal troops begin pulling protesters off the street and putting them in
                       unmarked vehicles.
              Beginning last week—the week of July 13, 2020—federal officers appear to have moved

     beyond merely firing projectiles at demonstrators and begun grabbing protesters, pulling them

     off the sidewalks of downtown, and shoving them into unmarked vehicles. Mark Pettibone has


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     prepared a sworn Declaration detailing his experience with anonymous men who turned out to be

     federal officers of some kind. (See Decl. of Mark Pettibone.)

              In his Declaration, Mr. Pettibone explains that he took part in a peaceful Black Lives

     Matter demonstration the night of July 14 and, while walking home around 2:00 a.m. on the

     morning of July 15, “[w]ithout warning, men in green military fatigues and adorned with generic

     ‘police’ patches, jumped out of an unmarked minivan and approached me. I did not know

     whether the men were police or far-right extremists, who, in my experience, frequently don

     military-like outfits and harass left-leaning protesters in Portland. My first thought was to run. I
     made it about a half-block before I realized there would be no escape from them. I sank to my

     knees and put my hands in the air.” (See id. at ¶¶ 2-5.)

              The unidentified men forcibly transported Mr. Pettibone to what turned out to be the

     federal courthouse. He was read his Miranda rights and declined to waive them, after which he

     was eventually released. No one ever told Mr. Pettibone why he had been detained. To his

     knowledge no charges were made and no physical record of his arrest or detainment exists. He

     does not know whether he has been charged with a crime. (See id. at ¶¶ 6-7.)

              Two other, similar incidents have been captured on videos available online. In one

     widely circulated video, two men in camouflage military-style uniforms and “POLICE” patches

     stride across a street and up to a man wearing black standing on a sidewalk, with his hands up.

     The uniformed men—who do not identify themselves, but are presumed to have been federal

     officers, due to the resemblance of their uniforms to that of other federal officers out that night—

     immediately bind the man’s hands and without a word lead him to an unmarked minivan, put

     him in the van, and drive away, as onlookers plead for them to identify themselves or say where

     they are taking the man.

              Defendant U.S. Customs and Border Protection issued a statement on July 17, 2020 that

     appears to respond to that video and reads in relevant part:

            CBP agents had information indicating the person in the video was suspected of
            assaults against federal agents or destruction of federal property. Once CBP
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              agents approached the suspect, a large and violent mob moved towards their
              location. For everyone’s safety, CBP agents quickly moved the suspect to a safer
              location for further questioning. The CBP agents identified themselves and were
              wearing CBP insignia during the encounter. The names of the agents were not
              displayed due to recent doxing incidents against law enforcement personnel who
              serve and protect our country.
              The video of that unknown person’s detention shows no evidence of a “mob” at all, let

     alone the agents appearing to note or react to a “large and violent mob” approaching them.

     Rather, the agents walk up, put the man’s hands together over his head, and immediately turn and

     walk him back to their vehicle. The video has sound and does not reflect the agents identifying

     themselves or saying anything at all. No insignia are visible on the video.
              In yet another video, men in street clothes wearing black vests with the word “POLICE,”

     and no visible identifying information haul a woman into the back of their van and drive away,

     over the screams of onlookers. The video begins with the woman already on her stomach in the

     street with men kneeling around her. As the video progresses the unidentified armed men yank

     her onto her feet and force her into a vehicle. Onlookers scream questions at the men, asking

     who they are, where they are taking the woman, and why they’re taking her away. One of the

     men, pointing what appears to be a gun at the onlookers, shouts “You follow us, you will get

     shot, you understand me?” The identity of the woman is not known to the Attorney General.

     The Attorney General must assume the Defendants were responsible, based on the similarity of

     the tactics in that second video to those in the first, as well as to Mr. Pettibone’s report of his

     seizure and detention. Without the “POLICE” marking on the assailants’ vests, the video would

     appear to be of an armed kidnapping.

              3.       Defendants’ statements indicate intention to continue detentions unabated.
              Statements by federal officials, including the Acting U.S. Customs and Border Protection

     Commissioner, the Acting Secretary of the Department of Homeland Security, the Acting

     Deputy Secretary of the Department of Homeland Security, and the President indicate

     Defendants are unlikely to stop these tactics in the absence of a court compelling them to do so.



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              The Executive Order issued June 26 directs federal law enforcement and troops to

     “protect” federal property for a period of six months. That Executive Order reads, in part:

              In the midst of these attacks, many State and local governments appear to have
              lost the ability to distinguish between the lawful exercise of rights to free speech
              and assembly and unvarnished vandalism. They have surrendered to mob rule,
              imperiling community safety, allowing for the wholesale violation of our laws,
              and privileging the violent impulses of the mob over the rights of law-abiding
              citizens. Worse, they apparently have lost the will or the desire to stand up to the
              radical fringe and defend the fundamental truth that America is good, her people
              are virtuous, and that justice prevails in this country to a far greater extent than
              anywhere else in the world. Some particularly misguided public officials even
              appear to have accepted the idea that violence can be virtuous and have prevented
              their police from enforcing the law and protecting public monuments, memorials,
              and statues from the mob’s ropes and graffiti.

              My Administration will not allow violent mobs incited by a radical fringe to
              become the arbiters of the aspects of our history that can be celebrated in public
              spaces. State and local public officials’ abdication of their law enforcement
              responsibilities in deference to this violent assault must end.
              At a press conference last week, the President is reported to have said, “We’ve done a

     great job in Portland… Portland was totally out of control, and they went in, and I guess we have

     many people right now in jail. We very much quelled it, and if it starts again, we’ll quell it again

     very easily. It’s not hard to do, if you know what you’re doing.”

              Willamette Week also reported that, during the same speech, “Trump condemned rising

     gun violence in liberal cities, which he said was a result of defunding police departments. He

     vowed to ‘take over’ if such violence continues to rise…. ‘Things are happening that nobody’s

     ever seen happen in cities that are liberally run. I call them radical-lib. And yet they'll go and

     march on areas and rip everything down in front of them.’”

              Likewise, Defendant U.S. Customs and Border Protection issued a statement on Friday

     July 17, reading:

              While the U.S. Customs and Border Protection (CBP) respects every American’s
              right to protest peacefully, violence and civil unrest will not be tolerated. Violent
              anarchists have organized events in Portland over the last several weeks with
              willful intent to damage and destroy federal property, as well as injure federal
              officers and agents. These criminal actions will not be tolerated.

                                                         ***

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              The Department of Homeland Security (DHS) and its components will continue
              to work tirelessly to reestablish law and order. The Federal Protective Service
              (FPS) is the lead government agency that CBP personnel are supporting. CBP
              personnel have been deployed to Portland in direct support of the Presidential
              Executive Order and the newly established DHS Protecting American
              Communities Task Force (PACT). CBP law enforcement personnel have been
              trained and cross designated under FPS legal authority 40 U.S.C. § 1315."
              OPB has reported that Acting U.S. Customs and Border Protection Commissioner Mark

     Morgan called the protesters criminals on Fox News, and said:

              “I don’t want to get ahead of the president and his announcement, but the
              Department of Justice is going to be involved in this, DHS is going to be involved
              in this; and we’re really going to take a stand across the board. And we’re going
              to do what needs to be done to protect the men and women of this country.”
              Kenneth Cuccinelli, Acting Deputy Secretary of the Department of Homeland Security, is

     reported to have told the Washington Post on Sunday, June 19, that “the agency had deployed

     tactical units from U.S. Immigration and Customs Enforcement and U.S. Customs and Border

     Protection” to Portland and other cities. He told the Post that he and his agency “don’t have any

     plans” to remove officers from Portland:

              “When the violence recedes, then that is when we would look at that,” he said.
              “This isn’t intended to be a permanent arrangement, but it will last as long as the
              violence demands additional support to contend with.”

     B.       LEGAL STANDARD
              In a June 9, 2020, Order granting a motion restraining Portland police from using tear gas

     inconsistently with the Police Bureau’s own rules, United States District Judge Marco A.

     Hernandez set forth the applicable legal rules governing issuance of a temporary restraining

     Order.

              The standard for a temporary restraining order (TRO) is “essentially identical” to
              the standard for a preliminary injunction.…

              “A plaintiff seeking a preliminary injunction must establish that he is likely to
              succeed on the merits, that he is likely to suffer irreparable harm in the absence of
              preliminary relief, that the balance of equities tips in his favor, and that an
              injunction is in the public interest.” Am. Trucking Ass’n Inc. v. City of L.A., 559
              F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter v. Natural Res. Defense Council,
              Inc., 555 U.S. 7, 21 (2008)). “The elements of [this] test are balanced, so that a
              stronger showing of one element may offset a weaker showing of another. For
              example, a stronger showing of irreparable harm to plaintiff might offset a lesser

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              showing of likelihood of success on the merits.” Alliance for the Wild Rockies v.
              Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).
     Order at 4, Don’t Shoot Portland v. City of Portland, No. 20-cv-00917-HZ (D. Or. June 6, 2020),

     ECF No. 29 (some internal citations omitted for space). The moving party must show a

     likelihood of success on the merits, the likelihood of irreparable harm without an order of

     restraint, the balance of equities favors the restraint, and that the relief requested is in the public

     interest. Winter, 555 U.S. at 20.

     C.       ARGUMENT
              Federal officers have demonstrated willingness to circumvent constitutional standards
     and public statements by federal law enforcement officials have condoned excessive and

     intimidating tactics widely reported over the past week. The harm to Oregonians lies in both the

     impact on individuals’ free exercise of their constitutional rights, including First Amendment

     rights of free expression and assembly, Fourth Amendment rights to be free of unreasonable

     search and seizure, Fifth Amendment due process rights, and in the harm to the State in its

     sovereign interests in maintaining public safety and order. This Court should grant the restraining

     order sought here. The Attorney General is likely to succeed on the merits of this case, and the

     people of Oregon will be irreparably harmed without the restraint sought. The balance of equities

     and the public interest clearly favor the issuance of an order.

              1.       Attorney General’s authority to act here.
              The Oregon Attorney General is compelled to bring this case because the Defendant

     agencies have made it clear that they intend to continue their conduct in the absence of a court

     order. It should not be necessary to petition this Court for an order preventing federal officers

     from grabbing pedestrians off the street, shoving them into cars, and driving away with them,

     without the officers identifying themselves and their agency, or otherwise taking the steps

     necessary for a lawful detainment. But Defendants have made it necessary.

              The safety and well-being of Oregonians is plainly at risk under the circumstances

     created by Defendants. There is no way for an individual Oregonian to determine whether she is

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     being arrested or kidnapped, when she is seized using the tactics adopted by these

     Defendants. When federal officers simply walk up, grab someone, and push that person into a

     car—failing to identify themselves, failing to tell the person why the officers are placing her

     under arrest, failing to create a paper record to allow her to ever to know what happened to her

     and who did it—they are duplicating the circumstances of a kidnapping. As a result, not only are

     the officers violating the law, but they are damaging the State of Oregon in two distinct ways as

     a result: first, people are at greater risk now of being victimized by genuine kidnappers. And,

     second, Oregonians are now at greater risk of state violence if they reasonably resist what they
     believe is a kidnapping.

              The State itself is damaged by the Defendants’ violence on its streets, and this Court’s

     intervention is urgently needed to redress that damage. Whether federal agencies are acting in a

     manner permitted by federal law or lawlessly—and thus potentially subject to state regulation—

     is a federal question that must be answered by this Court. The State is also damaged by the ease

     with which the tactics now being deployed by federal law enforcement can be mimicked creates

     an increased risk of horrific crimes being committed by private citizens who oppose the protests.

     In addition, there is a significant risk that individuals will be shot or beaten on the street by

     federal agents, for fighting off people they reasonably believed to be criminals.

              The federal government has made it clear that it has no intention of withdrawing the

     officers or changing its tactics. The President has crowed about his perception of his officers’

     success in Portland. The only way this will end is if this Court orders the officers to obey the

     law, identifying themselves appropriately and carrying out arrests in a manner consistent with

     their obligations under the Constitution. The Attorney General asks the Court to do just that.

              Beyond the Attorney General’s role as the chief legal officer for the State of Oregon, she

     also has the right to speak for the people of her state. American courts have recognized that

     states as “parens patriae”—the parent of the citizens—have particular interests in the well-being

     of their populace. Aziz v. Trump, 231 F. Supp. 3d 23, 30 (E.D. Va. 2017) (quoting Alfred L.

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   Snapp & Son., Inc. v. Puerto Rico, 458 U.S. 592, 600 (1982)). The Aziz court found that a state

   could bring a parens patriae action against the federal government “when the state has grounds

   to argue that [an] executive action is contrary to federal statutory or constitutional law.” Id.

           “A state has a quasi-sovereign interest in the health and well-being—both physical and

   economic—of its residents in general.” Snapp & Son., 458 U.S. at 600 (1982) These interests can

   include protecting its citizens from public nuisances. See Dep’t of Fair Emp’t & Hous. v. Lucent

   Techs., Inc., 642 F.3d 728 (9th Cir. 2011). Protection of a state’s residents from unconstitutional

   acts by federal law enforcement also falls within a state’s interest in the well-being of its
   citizenry; the state has more than a nominal interest in bringing an end to such conduct.

           The Southern District of Texas noted a line of cases demonstrating that states may sue the

   federal government in parens patriae where the state brought the action to enforce the rights

   guaranteed by a federal statute, rather than to protect its citizens against a federal statute:

           Defendants’ succinct argument, however, ignores an established line of cases that
           have held that states may rely on the doctrine of parens patriae to maintain suits
           against the federal government. See, e.g., Wash. Utilities and Transp. Comm'n v.
           F.C.C., 513 F.2d 1142 (9th Cir. 1975) (state regulatory agency relied on parens
           patriae to bring suit against F.C.C. and U.S.); Kansas ex rel. Hayden v. United
           States, 748 F. Supp. 797 (D. Kan. 1990) (state brought suit against U.S. under
           parens patriae theory); Abrams v. Heckler, 582 F. Supp. 1155 (S.D.N.Y. 1984)
           (state used parens patriae to maintain suit against the Secretary of Health and
           Human Services). These cases rely on an important distinction. The plaintiff
           states in these cases are not bringing suit to protect their citizens from the
           operation of a federal statute—actions that are barred by the holding of
           Massachusetts v. Mellon. Rather, these states are bringing suit to enforce the
           rights guaranteed by a federal statute. Id.
   Texas v. U.S., 86 F. Supp. 3d 591, 626 (S.D. Tex. 2015) (emphasis in original).

           In the present case, Oregon has an interest in the civic and physical wellbeing of its

   people whose liberty interests are will be restrained by unconstitutional stops and detentions by

   federal officers roaming its streets. In addition, these stops threaten to create a significant

   chilling effect upon its citizens’ First Amendment rights of free speech, as citizens choose to stay

   home in fear of being snatched up without warning by federal authorities, rather than exercise

   their freedoms of speech and assembly by participating in peaceful protests.

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             Should the practice of the Defendants continue in Oregon, such that arrests resemble

     kidnappings, public confidence in constitutional exercise of law enforcement will be diminished.

     If not restrained, further such actions could also impose post-event investigation and prosecution

     costs upon the State, which will divert its resources of staff and money from other tasks.

             2.      Likelihood of success on the merits.
             The Attorney General is likely to succeed on the merits of her lawsuit against the federal

     agencies and John Does. Defendants’ conduct runs afoul of First Amendment protections

     (discussed in section a., below) as well as Fourth Amendment (due process) protections.

                     a.         Defendants’ conduct interferes with First Amendment rights.
             Oregonians have the right to move about in public places, including but not limited to

     engaging in activities protected by the First Amendment, without fear of unlawful detention by

     federal officers concealing their identity, silently grabbing them and shoving them into cars

     without explanation, seemingly without probable cause for arrests. Defendants have created

     legitimate reasons for people in Portland to fear for their personal safety and the integrity of their

     constitutional rights by the conduct of federal agents.

             Creating a climate of fear and intimidation associated with exercising First Amendment

     rights affects vulnerable citizens in particular. Individuals with disabilities, sole earners, single

     parents, and others may be particularly unwilling to risk the trauma and disruption to their

     families of being snatched off the streets. People wishing to come to downtown Portland to bear

     witness and uplift the voices of Black Lives Matter activists would have every reason to be

     fearful of doing so. (See Declarations of Tiffany Chapman, Stephanie Debner, and Terri Preeg-

     Riggsby.)

             The right to assemble and speak out in protest against the actions of governmental actors

     is one of the foremost rights of American citizens. This Court recently held, in the Don’t Shoot

     Portland case, that demonstrations and protests are protected speech:

                Organized political protest is a form of “classically political
                speech.” Boos v. Barry, 485 U.S. 312, 318 (1988). “Activities such
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                   as demonstrations, protest marches, and picketing are clearly
                   protected by the First Amendment.” Collins v. Jordan, 110 F.3d
                   1363, 1371 (9th Cir. 1996).
   Order at 6, Don’t Shoot Portland, supra.

          An illustrative case is Johnson et al. v City of Berkeley et al., 2016 WL 928723 (2016). In

   that case, local law enforcement monitored a protest march. Plaintiffs alleged that they had

   peacefully participated in the demonstration either as protesters or journalists documenting the

   march. Law enforcement officers allegedly struck them with batons repeatedly, and in some

   instances, deployed tear gas. Two plaintiffs were arrested and spent the night in jail although

   they had done nothing wrong. In a civil case against the officers, the District Court denied the
   defense motion to dismiss the First Amendment claims because the allegations sufficiently stated

   a First Amendment violation. The court found that plaintiffs’ alleged actions of protesting

   constituted clear First Amendment activity and that law enforcement’s alleged response was

   clearly intended to have a chilling effect on plaintiffs’ freedom of expression. See also

   Rodriguez v. Winski, 973 F. Supp. 2d 411 (S.D.N.Y. 2013) (“[Defendant] arrested [plaintiff]

   during his participation in a protest. Hence, [plaintiff’s] expressive activity was not merely

   chilled, but was rather completely frustrated for the period of his arrest.” Id. at 427).

          Americans are entitled to express frustration, disapproval, profound disagreement, and

   even contempt for their government. Defendants may disagree with these sentiments, but they

   are not entitled to use the power of their office to discourage, intimidate, or retaliate against

   people expressing them. “[T]he First Amendment protects a significant amount of verbal

   criticism and challenge directed at police officers.” City of Houston v. Hill, 482 U.S. 451, 461

   (1987). “The freedom of individuals verbally to oppose or challenge police action without

   thereby risking arrest is one of the principal characteristics by which we distinguish a free nation

   from a police state.” Id. at 462-63. Damage to buildings, of course, may result in criminal

   charges—the right of expression does not extend to vandalism of county or federal property. But

   vandalism of federal buildings does not allow Defendants to operate outside their constitutional

     limitations.
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          City of Houston makes clear the notion that conduct can be offensive to and critical of

   law enforcement and still be constitutionally protected. Moreover “a properly trained officer may

   reasonably be expected to ‘exercise a higher degree of restraint’ than the average citizen, and

   thus be less likely to respond belligerently to “fighting words.’” Id. (quoting Lewis v. City of New

   Orleans, 415 U. S. 130, 135 (1974)) (Powell, J., concurring) (citation omitted).

          To be sure, a showing of a First Amendment violation requires not only a deterrence but

   also that such deterrence was “a substantial or motivating factor in [the defendant’s] conduct.’”

   Mendocino Envtl. Ctr. v. Mendocino Cty., 192 F.3d 1283, 1300 (9th Cir. 1999) (alterations in the
   original) (quoting Sloman v. Tadlock, 21 F.3d 1462, 1469 (9th Cir. 1994). The Defendants’

   response to the Black Lives Matter movement in Portland is not just belligerent but repressive.

   Oregon residents downtown at night, away from any federal property, now have reason to fear

   that they may find themselves in an unmarked car, in an unknown location, surrounded by

   heavily armed individuals. “As a general matter the First Amendment prohibits government

   officials from subjecting an individual to retaliatory actions for engaging in protected

   speech.” Nieves v. Bartlett, 139 S. Ct. 1715, 1722 (2019) (brackets and quotation marks

   omitted). The statements of federal officials, quoted above, mischaracterizing protests and other

   constitutionally protected assembly in Portland strongly suggest that the Defendants’ objective is

   in fact to disrupt the protests themselves, and to deliver a message to the people of this country

   that dissent will be met with force.

          Officers may be found to have engaged in retaliation for protected speech when arresting

   people, even if the officer had probable cause for the arrest (and here, nothing indicates that

   Defendants are in fact establishing probable cause before grabbing pedestrians off the street).

   Although a plaintiff ordinarily cannot bring a retaliatory-arrest claim if the officer had probable

   cause, “the no-probable-cause requirement [does] not apply when a plaintiff presents objective

   evidence that he was arrested when otherwise similarly situated individuals not engaged in the

   same sort of protected speech had not been.” Id. at 1727. “For example, at many intersections,

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     jaywalking is endemic but rarely results in arrest. If an individual who has been vocally

     complaining about police conduct is arrested for jaywalking at such an intersection,” it is

     “insufficiently protective of First Amendment rights to dismiss the individual's retaliatory arrest

     claim on the ground that there was undoubted probable cause for the arrest.” Id.

             The no-probable-cause requirement also does not apply when the retaliatory arrest is part

     of an “official policy” of governmental intimidation. Lozman v. City of Riviera Beach, 138 S.

     Ct. 1945, 1954 (2018). As the Supreme Court explained in Lozman:

             An official retaliatory policy is a particularly troubling and potent form of
             retaliation, for a policy can be long term and pervasive, unlike an ad hoc, on-the-
             spot decision by an individual officer. An official policy also can be difficult to
             dislodge. A citizen who suffers retaliation by an individual officer can seek to
             have the officer disciplined or removed from service, but there may be little
             practical recourse when the government itself orchestrates the retaliation. For
             these reasons, when retaliation against protected speech is elevated to the level of
             official policy, there is a compelling need for adequate avenues of redress.
     Id. at 1948.

             Here, governmental intimidation appears to be the entire basis for the Defendants’

     actions, and their conduct is unlawful and in violation of the First Amendment limitations on

     them.

                     b.         Defendants’ actions violate the Fourth Amendment.
             In addition to violating First Amendment protections of free speech and assembly,

     Defendants’ conduct appears to violate of the Fourth Amendment protection against unlawful

     seizure, through unreasonable concealment of the arresting officers’ identity and the agency or

     authority they serve.

             For purposes of the Fourth Amendment, a person is seized when, “in view of all the

     circumstances surrounding the incident, a reasonable person would have believed that he was not

     free to leave.” United States v. Mendenhall, 446 U.S. 544, 554 (1980). “Only when the officer,

     by means of physical force or show of authority, has in some way restrained the liberty of a

     citizen may we conclude that a ‘seizure’ has occurred.” Terry v. Ohio, 392 U.S. 1, 19 n 16

     (1968). See also Michigan v. Chesternut, 486 U.S. 567, 573 (1988). The Declaration of
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   Pettibone describes being detained by armed men using physical force —a situation where a

   reasonable person would believe they were “not free to leave.” In other words, there can be little

   doubt it was a seizure pursuant to the Fourth Amendment.

          To be Constitutional, an arrest must be supported by probable cause. Probable cause

   under the Fourth Amendment is an objective standard. As explained in Ornelas v. United States,

   517 U.S. 690, 696 (1996), probable cause exists “where the known facts and circumstances are

   sufficient to warrant a man of reasonable prudence in the belief that contraband or evidence of a

   crime will be found[.]” See also Devenpeck v. Alford, 543 U.S. 146 (2004). It is a “practical,
   common sense” determination based upon the “totality of the circumstances.” Illinois v. Gates,

   462 US 213, 238 (1983). Probable cause for an arrest requires a fair probability that an offense

   has been committed or is being committed by the person who is to be arrested. See Beck v. Ohio,

   379 U.S. 89, 91 (1964); Brinegar v. United States, 338 U.S. 160 (1949). There is no known,

   credible explanation for the Federal officers’ arrest of Mr. Pettibone in this instance. The fact

   that he was later released without any additional exchange of information, without any paper trail

   of what had happened to him, and without any understanding of who exactly had grabbed him

   off the street or what agency they worked for strongly suggests that probable cause never existed.

          A person who is likely to be subject to unconstitutional search and seizure, including

   specifically being stopped by law enforcement without probable cause, has grounds to enjoin

   such conduct by law enforcement. See Melendres v. Arpaio, 695 F.3d 990, 999 (9th Cir. 2012)

   (“the threatened constitutional injury was likely to occur again, and thus, there was no error in

   the determination that the Plaintiffs had standing to pursue equitable relief as to their Fourth

   Amendment claims”). Of course, individuals cannot seek redress against an abuse of law

   enforcement authority, if the law enforcement officers never tell the individual who they are or

   who they work for, or why they picked that person up.

          Mr. Pettibone’s treatment does not stand alone, given the video evidence of other

   detentions. When there is a persistent pattern of police misconduct, injunctive relief is

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   appropriate. In Hague v. Comm. for Indus. Org., 307 U.S. 496 (1939), the Supreme Court

   affirmed such relief when law enforcement officials restricted labor union activities, interfering

   with the distribution of pamphlets, preventing public meetings, and running some labor

   organizers out of town. The Court upheld an injunction that prohibited the police from

   “exercising personal restraint over (the plaintiffs) without warrant or confining them without

   lawful arrest and production of them for prompt judicial hearing . . . or interfering with their free

   access to the streets, parks, or public places of the city.” Id. at 517.

           The reasonableness—and constitutionality—of a seizure may also turn on whether the
   officer properly identified himself or herself as an officer to the arrestee during the encounter.

   The heavily armed men detaining Mr. Pettibone never advised under what authority he was

   being arrested, or by whom. The Seventh Circuit recently stated that “[i]n all but the most

   unusual circumstances, where identification would itself make the situation more dangerous,

   plainclothes officers must identify themselves when they initiate a stop.” Doornbos v. City of

   Chicago, 868 F.3d 572, 575 (7th Cir. 2017). As the court explained:

           The tactic provokes panic and hostility from confused civilians who have no way
           of knowing that the stranger who seeks to detain them is an officer. This creates
           needless risks. Suppose you are walking along a street and are grabbed by a
           stranger (or three strangers). A fight-or-flight reaction is both understandable and
           foreseeable. Self-defense is a basic right, and many civilians who would
           peaceably comply with a police officer’s order will understandably be ready to
           resist or flee when accosted—let alone grabbed—by an unidentified person who
           is not in a police officer’s uniform. Absent unusual and dangerous circumstances,
           this tactic is unlikely to be reasonable when conducting a stop or a frisk.
   Id. at 584-85 (quotation marks and citations omitted). See also, e.g., Johnson v. Grob, 928 F.

   Supp. 889, 905 (W.D. Mo. 1996) (“a seizure outside the home may be unreasonable because the

   officers involved were not identified or identifiable as such, and the seized person suffers injuries

   because of the officers' lack of identification.”); Newell v. City of Salina, 276 F. Supp. 2d 1148,

   1155 (D. Kan. 2003) (holding that a seizure, “without having identified themselves as law

   enforcement officers, may not be objectively reasonable.”).



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           The Ninth Circuit has reached a similar conclusion in evaluating a use of force situation.

   In S.R. Nehad v. Browder, 929 F.3d 1125, 1138 (9th Cir. 2019), the Ninth Circuit stated “we

   have also considered as relevant a police officer's failure to identify himself or herself as such . . .

   . Browder never verbally identified himself as a police officer or activated his police lights or

   siren. A jury could consider those failures in assessing Nehad’s response to Browder and in

   determining whether Browder’s use of force was reasonable.”

           Finally, this District has also concluded that a failure of police officers to identify

   themselves can amount to unlawful seizure. In Child v. City of Portland, 547 F. Supp. 2d 1161,
   1165 (D. Or. 2008), the court considered a case in which Portland police failed to identify

   themselves before detaining a plaintiff, and concluded that that conduct amounted to a viable

   claim for illegal seizure that withstood summary judgment:

           The facts in this case, taken together, do not justify the intrusive nature of
           Defendant Officers' actions at the time of the seizure of Plaintiff. When the
           Defendant Officers initially saw Plaintiff riding her bicycle without a light, as
           required by law, they reasonably approached her for purposes of investigation. At
           this point, however, the officers departed from a course of behavior that permitted
           them to reasonably detain Plaintiff. First, they pulled up to Plaintiff in an
           unmarked car, failed to identify themselves as police officers, ignored Plaintiff's
           requests that they identify themselves, did not use the car lights in a manner that
           would suggest they were police officers, or otherwise attempt to communicate
           their purpose in approaching Plaintiff. Under these facts, Plaintiff was reasonably
           unsure and fearful of their intentions. Defendant Officers did not act reasonably
           when they chased a frightened woman into her yard and pulled her out of her
           house by her arm and her hair. Therefore, a reasonable jury could find for Plaintiff
           and Defendants' motion for summary judgment on the claim of illegal seizure
           should be denied.
           As in the Child case, Defendants here are using unmarked vehicles, are not wearing a

   recognizable police uniform, are not identifying themselves or their agency, and are dragging

   frightened people into their cars. When these federal officers operate incognito, they cannot be

   distinguished from lawless militia opposed to the protests, or simply kidnappers out to exploit

   victims who may believe that they have an obligation to obey their captors. For the safety of

   everyone, the federal agents on the scene must identify themselves before making an arrest.



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          The actions of Defendants in Oregon constitute a direct threat to the individual rights of

   all Oregonians. Allowing federal agents to roam the streets of an Oregon city detaining

   individuals in violation of their federal and State constitutional rights harms not just the

   individuals, but the interests of the State in protecting the constitutional rights of Oregonians.

   The Attorney General is likely to prevail on her claim for a declaration and injunction that seeks

   to hold federal officers to basic jurisdictional and constitutional standards.

                   3.         Irreparable harm.
          Deprivation of a constitutional right is a harm in and of itself. See, e.g., Padilla v. U.S.
   Immig. And Customs Enforcement, 387 F. Supp. 3d 1219, 1231 (2019) citing Hernandez v.

   Sessions, 872 F. 3d 976, 995 (9th Cir. 2017). The conduct of federal agents chills the exercise of

   protected First Amendment rights and violates the law governing officers’ conduct in light of

   Fourth Amendment rights. The law strongly favors the Attorney General’s goal of preserving the

   peace of the State and protecting its people from arbitrary and unconstitutional detention.

          If the conduct of the past week continues, the people of Oregon and the peace of the State

   will be irreparably harmed because people walking downtown will fear arbitrary and violent

   confrontations with persons who may—or may not—be federal officers. And state and local law

   enforcement officers will be irreparably harmed because the Defendants’ unconstitutional tactics

   will escalate confrontations with law enforcement, and undermine faith in law enforcement.

                   4.         The balance of equities supports issuing an injunction.
          Balancing the equities requires the court to identify and consider “competing claims of

   injury” and how granting or denying the requested restraint will affect the parties. Winter, supra,

   555 U.S. at 24. Because the Attorney General’s request seeks maintenance of the lawful bounds

   of conduct applicable to the federal officers, no injury to defendants’ interest is readily apparent.

   The balance of equities tips in favor of the Attorney General’s commitment to protecting the

   people of the State and the public order. See W. Watersheds Project v. Bernhardt, 391 F. Supp.

   3d 1002, 1026 (D. Or. 2019) (“Courts also have repeatedly held that when the government does

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   not properly follow the law or regulations, balancing the equities favors the plaintiff. See,

   e.g., Valle del Sol, Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“[i]t is clear that it

   would not be equitable or in the public's interest to allow the state ... to violate the requirements

   of federal law, especially when there are no adequate remedies available”) (quoting United States

   v. Arizona, 641 F.3d 339, 366 (9th Cir. 2011), aff’d in part, rev’d in part, and remanded

   by Arizona v. United States, 567 U.S. 387 (2012) ); J.L. v. Cissna, 341 F. Supp. 3d 1048, 1070

   (N.D. Cal. 2018) (noting that the balance of equities factor weighs in favor of the plaintiffs

   ‘when plaintiffs have also established that the government’s policy violates federal law’).”).
           Defendants have no legitimate claim to continue the conduct sought to be restrained. No

   public benefit accrues to permitting federal officers to circumvent the Constitution and cause fear

   and confusion among the people of Oregon.

                   5.         The public interest supports restraining Defendants’ conduct.
           The public interest inquiry focuses primarily on the impact a restraint will have on non-

   parties. See League of Wilderness Def./Blue Mountains Biodiversity Project v. Connaughton,

   752 F.3d 755, 766 (9th Cir. 2014); Western Watersheds, supra. As Judge Simon recently noted,

   “[w]hen the alleged action by the government violates federal law, the public interest factor

   weighs in favor of the plaintiff.” Western Watersheds, supra (citing to Valle del Sol, 732 F.3d at

   1029.

           The Don’t Shoot Portland decision recognized the complementary principle that “it is

   always in the public interest to prevent the violation of a party’s constitutional rights.” Order at

   9, Don’t Shoot Portland, June 6, 2020, supra. This Court went on to explain, in the context of

   the same public protests in Portland: “This is a significant moment in time. The public has an

   enormous interest in the rights of peaceful protesters to assemble and express themselves. These

   rights are critical to our democracy.” Id. Additionally, as this Court concluded, the public interest

   is also served by “allowing the police to do their jobs and to protect lives as well as property.”

   Id. Here, the requested restraint serves the public interest in both ways. Prohibiting federal

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   officers from engaging in the conduct at issue advances the public interest in allowing local

   authorities to pursue public peace without the incitements engendered by these unlawful acts.

          There is no public interest in prior restraints of First Amendment rights, unconstitutional

   detentions, or arrests without probable cause. There will be a direct impact on people who may

   be subjected to the same conduct not knowing whether they are being abducted (and may resist

   with all their might, engaging in self-defense to the fullest extent permitted by law) or are being

   arrested (such that resisting may be charged as a crime).

                                        III.      CONCLUSION
          Until the Court can convene a hearing on the Attorney General’s request for a

   preliminary injunction, Defendants should be restrained from engaging in conduct that threatens

   to irreparably harm the public peace and security of Oregon.

          DATED July 20 , 2020.

                                                        Respectfully submitted,
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